       Case 3:25-cv-01766-EMC         Document 13-2     Filed 02/19/25      Page 1 of 4



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12   [Additional Counsel Listed on Next Page]

13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16

17   NATIONAL TPS ALLIANCE, MARIELA                   Case No. 25-cv-1766
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
18   M.H., CECILIA DANIELA GONZÁLEZ                   DECLARATION OF EMILOU MACLEAN
     HERRERA, ALBA CECILIA PURICA                     IN SUPPORT OF ADMINISTRATIVE
19   HERNÁNDEZ, E.R., and HENDRINA VIVAS              MOTION OF PLAINTIFFS M.H. AND E.R.
     CASTILLO,                                        TO PROCEED UNDER PSEUDONYM
20
                 Plaintiffs,
21          vs.
22   KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, UNITED
23   STATES DEPARTMENT OF HOMELAND
     SECURITY, and UNITED STATES OF
24   AMERICA,
25                 Defendants.

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        DECLARATION OF EMILOU MACLEAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                  PROCEED UNDER PSEUDONYM
                                     CASE NO. 25-CV-1766
       Case 3:25-cv-01766-EMC            Document 13-2   Filed 02/19/25   Page 2 of 4



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        DECLARATION OF EMILOU MACLEAN IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE MOTION TO
                                  PROCEED UNDER PSEUDONYM
                                     CASE NO. 25-CV-1766
         Case 3:25-cv-01766-EMC          Document 13-2         Filed 02/19/25      Page 3 of 4



 1          I, Emilou MacLean, declare as follows:

 2          1.      I am an attorney at law duly licensed and entitled to practice in the State of

 3   California. I am a Senior Staff Attorney at ACLU Foundation of Northern California, counsel of

 4   record in this action for Plaintiffs. I have personal knowledge of the facts set forth in this declaration

 5   and, if called as a witness, I could and would testify competently thereto.

 6          2.      I file this Declaration in support of the Administrative Motion of Plaintiffs M.H. and

 7   E.R. to Proceed Under Pseudonym (“Administrative Motion”).

 8          3.      This matter pertains to the Department of Homeland Security’s unlawful decision to

 9   “vacate” the January 17, 2025 extension of Temporary Protected Status (TPS) for Venezuela and to

10   terminate the 2023 designation of TPS for Venezuela. The challenged orders will most immediately

11   go into effect on April 3, 2025, when employment authorization documents for nearly 350,000

12   Venezuelan TPS holders who initially registered for TPS under Venezuela’s 2023 designation will

13   expire, and on April 7, 2025, when those TPS holders will lose their lawful immigration status and,

14   in many cases, become subject to deportation.

15          4.      Plaintiffs, including M.H. and E.R., are suing Kristi Noem (in her official capacity as

16   Secretary of Homeland Security), the Department of Homeland Security, and the United States of

17   America (collectively “Defendants”). For the reasons explained more fully in their declarations,

18   M.H. and E.R. fear retaliation by the Defendants against them and their families. Defendants could,

19   for example, seek to retaliate, among other ways, in connection with M.H. and E.R.’s immigration

20   status and the status of their children. M.H. and E.R. also face the risk of retaliation from the

21   Venezuelan government, and actors in their local communities; and M.H. fears retaliatory action

22   against her husband given his employment for a U.S. government subcontractor.

23          5.      Due to the urgent nature of this action, Plaintiffs are filing this Administrative Motion

24   concurrently with the filing of the Complaint, and thus Plaintiffs have not been able to meet and

25   confer with counsel for Defendants regarding this Motion.

26   /

27   /

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         DECLARATION OF EMILOU MACLEAN IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                                   PROCEED UNDER PSEUDONYM
                                      CASE NO. 25-CV-1766
       Case 3:25-cv-01766-EMC          Document 13-2        Filed 02/19/25     Page 4 of 4



 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          Executed this 19th day of February 2025, in San Francisco, California.

 4
                                                  /s/ Emilou MacLean
 5                                               Emilou Maclean
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        DECLARATION OF EMILOU MACLEAN IN SUPPORT OF PLAINTIFF’S ADMINISTRATIVE MOTION TO
                                  PROCEED UNDER PSEUDONYM
                                     CASE NO. 25-CV-1766
